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Christ Troupis

From: Jonathan Parker [jparker@idgop.org]
Sent: Tuesday, May 25, 2010 11:11 AM

To: bmdavis@senate.idaho.gov; rlgeddes@senate. idaho. gov; jstegner@senate.idaho.gov; ‘Senator Russell
Fulcher’; kroberts@house.idaho.gov; Idenney@house.idaho.gov; mmoyle@house.idaho.gov;
sbedke@house.idaho.gov

Cc: norm@idgop.org; jrisch@rischpisca.com
Subject: Dave Bieter asking Supporters to Vote Republican
House and Senate Leadership,

Please see the email below from Dave Bieter asking his supporters to cross over and vote for Vern
Bisterfeldt and Roger Simmons in the Republican Primary. Vern Bisterfeldt is the campaign treasurer for
both Branden Durst and Walt Minnick.

Thanks.

Jonathan

-----Original Message--—-

From: Mayor Dave Bieter <ryanehill@cableone.net>

To: rebarnoid@aol.com

Sent: Mon, May 24, 2010 11:42 pm

Subject: My Endorsements for Ada County Commissioner

News from Dave

We can change Ada County! May 25, 201

pap” Y Please Vote for Join me in suppt
! gaa, Vern Bisterfeldt and two experiencec

Roger Simmons leaders for Ada
County Commiss

7» Dear Friend, --Mayor Dave Bit

Vern Bisterfeldt and Roger Simmons
put their names forward for the Board
Ada County Commissioner for only one
reason--to serve the citizens of Ada
County.

In a nutshell, their plan to reform Ada
County government is a bold approach
that will save taxpayers money, while increasing transparency and
accountability.

| have worked for and worked with both of them for many years. Put
simply, they embody what it means to be public servants.

it is rare to have the opportunity to enhance our safety, our environment
and our prosperity in one election, and that is why | am urging alt
Boiseans and everyone | know in Ada County to vote for Vern Bisterfeldt
and Roger Simmons for Ada County Commisioner in the Republican
Primary Election-- today--May 25th, 2010.

6/30/2010
Page 2 of 2
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Sincerely,
Dave Bieter

PS--For more information on how Vern and Roger will reform Ada County,

please visit http://www. Tivestepstoabetteradacounty.com.
Paid for by Bieter for Boise

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This message was sent from Mayor Dave Bieter to rebarnoid@aol.com. It was sent from: Ryan Hill, P.O. Box “Contact
1742, Boise, ID 83701. You can modify/update your subscription via the link below. 5 , *

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FORWARD TO A FRIEND

22*Manage your subscription

6/30/2010
